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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 STATE OF NEW JERSEY, et al.

                                  Plaintiffs,
                                                                   No. 1:25-cv-10139-LTS
         v.

 DONALD J. TRUMP, et al.

                                  Defendants.



                         MOTION FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5.3, I, Gerard J. Cedrone, a member of the bar of this Court and

counsel of record for Plaintiff Commonwealth of Massachusetts, hereby move the admission pro hac

vice of Attorney General William M. Tong and Assistant Attorney General Janelle Rose Medeiros of

the bar of the State of Connecticut to serve as counsel for Plaintiff State of Connecticut in this matter.

        As set forth in the accompanying certification, Attorney General Tong and Assistant Attorney

General Medeiros are (1) members in good standing of the bars of every jurisdiction to which they have

been admitted to practice, (2) are not the subject of disciplinary proceedings pending in any

jurisdictions in which they are members of the bar, (3) have not previously had a pro hac vice

admission to this Court (or other admission for a limited purpose under Local Rule 83.5.3) revoked

for misconduct, and (4) have read and agreed to comply with the Local Rules of this District.

        WHEREFORE, this Court should admit Attorney General William M. Tong and Assistant

Attorney General Janelle Rose Medeiros pro hac vice to the bar of this Court.
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January 21, 2025                      Respectfully submitted.

                                      ANDREA JOY CAMPBELL
                                       ATTORNEY GENERAL OF MASSACHUSETTS

                                       /s/ Gerard J. Cedrone
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                                       Massachusetts




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